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UNITED sTATEs DISTRICT coURT

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WESTERN DISTRICT OF TENNESSEE ‘ '\

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UNITED STATES OF AMERICA

THO‘¢NM M.GOUD
cR. No. 04-2048001WUS. DF')"TR!»CTOUBT
WUF95HH§HB

vS.

DERRICK CRUMPTON

I-KPPLICATIONc ORDER and WRIT FOR H.ABEAS CORPUS AD PROSEQUENDUM

The United States Attorney's Office applies to the Court for a Writ
to have DERRICK CRUMPTON, DOB:05/16/1983, R&I# 309006, now being detained
in the Shelby County Penal Farm appear before the Honorable Bernice B.
Donald on August 25, 2005 @ 9:00 a.m. for Report and for such other
appearances as this Court may direct.

Respectfully submitted this é;£__day of July, 2005;

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sTEPHEN P . Hz{LL
Assistant U. S. Attorney

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Upon consideration of the foregoing Application, DMHD Joms¥, U.S.
MARSHAL, WssTERN DISTRICT oF TENNESSBE, MEMPHIS, TN., SHERIFF/WIRREN, SHBLBY CoUNTY

PENAL FARM, MEMPHIS, TN.

YOUR‘ARE HEREBY COMMANDED to have DERRICK CRUMPTONl DOB:05[16[1983ll

R&I& 309006, appear before the Honorable Bernice B. Donald at the date

and time aforementioned.

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ENTERF.D this o?/J* day of July, 2005

ant entered on the docket she ;

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
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Honorable Bernice Donald
US DISTRICT COURT

